Case 1:21-cr-00434 Documenti1 Filed on 05/06/21 in TXSD Page 1of2

AO 91 (Rev. 11/11) Criminal Complaint FELONY United States Courts
Southern District of Texas
UNITED STATES DISTRICT COURT FILED
for the May 06, 2021
Southern District of Texas Nathan Ochsner, Clerk of Court
United States of America )
V. )
Rafael CASTILLO-Tapia, ) Case No. B-21-MJ- 491
Cesar SILVA-Aguirre
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 6, 2021 in the county of Cameron in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841 & 846 Conspiracy and possession with intent to distribute approximately 76.8

kilograms or more of marijuana, a controlled 1 substance.

This criminal complaint is based on these facts:

See attachment.

@ Continued on the attached sheet.

Submitted by reliable electronic means, sworn to, signature WH Cyee-
attested telephonically per fed.r.crim.p.4.1, on May 6, 2021. Complainéht’s signature

Michael S. Eyes / Special Agent DEA

Printed name and title

Date: 05/06/2021 LG lee —

Judge's signature //

City and state: Brownsville, Texas Ronald G. Morgan, United States Magistrate Judge
Printed name and title

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United States

V.
Rafael CASTILLO-Tapia B-21-MJ-491
Cesar SILVA-Aguirre

ATTACHMENT — A
(AFFIDAVIT)

On May 5, 2021, at approximately 9:49 P.M., Harlingen, Texas U.S. Border Patrol agents using a Remote Video
Surveillance System (RVSS) near Los Indios, Texas observed several subjects climbing over the security fence at
the Los Indios Port of Entry. Border Patrol agents had visual of approximately four subjects walking north at the
Port Of Entry, which was already closed. RVSS operator informed field agents the subjects appeared to be carrying
large black bundles with straps, which is consistent with the smuggling of narcotics. The subjects continued walking
north on the Port Of Entry, at which time Border Patrol Agent Ricardo Delgadillo drove south towards the subjects.
RVSS operator stated that the subjects dropped the bundles, climbed back over the fence on the west side of the Los
Indios Port Of Entry, and were running south towards the Rio Grande River. At this time Border Patrol Agent David
Robles, drove south on the west side of the Port Of Entry. Agents Robles proceeded south on a field road and
encountered two subjects laying down against the Port of Entry’s chain link fence. The subjects were approximately
75 yards south of the location where RVSS operator had stated that the subjects dropped the bundles and jumped
over the fence and maintained observation until USBP agents apprehended them. USBP agent Robles immediately
made contact with two of the four subjects identified as Rafael CASTILLO-Tapia and Cesar SILVA-Aguirre. USBP-
agent Robles identified himself and questioned the subjects as to their citizenship. CASTILLO-Tapia and SILVA-
Aguirre stated that they were citizens of Mexico and had no immigration documents to be in or enter the United
States. At that time, USBP agents arrested CASTILLO-Tapia and SILVA-Aguirre, and seized the four large bundles
of what field-tested positive for marijuana with a combine weight of 76.8 kilograms that CASTILLO-Tapia and
SILVA-Aguirre were carrying. USBP agent then transported CASTILLO-Tapia, SILVA-Aguirre and the marijuana
to the Harlingen Border Patrol Station for processing. At the Harlingen Border Patrol Station, CASTILLO-Tapia and
SILVA-Aguirre were read their Miranda rights via service Form J-214 indicating that they understood their rights.
CASTILLO-Tapia and SELVA-Aguirre declined to give a statement without an attorney present at this time, no
more questioning took place. Both subjects were found to have strap marks on their shoulders and backs consistent
with the carrying of a heavy object. The bundles had ropes and seat belt straps attached to them, which is a common
practice used by smugglers. DEA Brownsville agents adopted the case and took custody of the seized marijuana as
evidence.

Submitted by reliable electronic means, sworn to, signature -,
attested telephonically per fed.r.crim.p.4.1, on May 6, 2021. Wt. CYybt
Complainaft's Signature

Michael S. Eyes, DEA Special Agent
Printed Name and Title

Date: May 6, 2021 Lawl bx —_—

Judge’s Signature

City and State: Brownsville, Texas

Ronald G. Morgan, United States Magistrate
Printed Name and Title

